 

UNITED STATES DISTRICT COURT US. DIST or
EASTERN DISTRICT OF WISCONSIN EASTERN Bish ig,

 

 

 

UNITED STATES OF AMERICA, 419 “TP & Ig
Plaintiff, TE Ri RIES
v. Case No. 19-CR- J
[18 U.S.C. §§ 656 & 1344]
ARCHIE G. OVERBY, Green Bay Division
Defendant. 1 9 -CR- 8 dt
INDICTMENT
THE GRAND JURY CHARGES THAT:
Allegations Common to All Counts
1. First National Bank (FNB) was a nationally chartered bank with its main branch

in the City of Waupaca, in the State and Eastern District of Wisconsin, and smaller branches in
other communities in Central Wisconsin and the Texas panhandle.

2. FNB was regulated by the Office of the Comptroller of Currency (OCC), a
division of the United States Department of Treasury.

3. The deposits of FNB were insured by the Federal Deposit Insurance Corporation
(FDIC).

4. FNB was a wholly owned subsidiary of Waupaca Bancorporation, Inc. (WBC), a
privately held S-Corporation with approximately 200 shareholders, including FNB employees
who owned stock through the Employee Stock Option Program. |

5. The affairs of FNB were overseen by a board of directors, several of whom were

also employed as officers at FNB.

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5. Archie G. Overby was the president, CEO and Chairman of the Board of directors
of FNB, and a board member and shareholder of WBC. -

COUNTS ONE THROUGH TWELVE
BANK FRAUD

6. From at least January 1, 2010, and continuing through mid to late 2013, the exact
dates being unknown to the grand jury, in the State and Eastern District of Wisconsin and
elsewhere,

ARCHIE G. OVERBY
knowingly devised and executed a scheme to defraud FNB the shareholders of WBC and to
obtain money and funds under the custody and control of FNB, by means of materially false and
fraudulent pretenses, representations and promises, and by the omission of material facts (the
“scheme”), which scheme is more fully described below.
The Scheme

7. Using his position at FNB, Overby fraudulently expensed to the bank personal
travel, entertainment, and meals for himself, his wife, various close and extended family
members, and friends and associates, all of which had no legitimate banking purpose.

8. Between 2010 and 2013, Overby’s personal travel included yearly trips to a
luxury spa in Tucson, Arizona, and non-bank related trips to Chicago, Illinois; New York, New
York; Los Angeles, California; Houston, Dallas, Austin, and San Antonio, Texas; Charlotte,
North Carolina; Denver, Colorado; Orlando, Florida; St. Maarten; Grand Cayman Island; and
Tanzania.

9. Overby’s personal travel included airfare, frequently first class, for himself, his

wife, and others; lodging at luxury hotels and resorts including Trump International, the

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Mandarin Oriental, and the Phillips Club in New York City; the Grand Hotel on Mackinac
Island, Michigan; Hotels ZaZa and Lumen in Dallas, Texas; Omni Hotel and Resort, in Westside
Houston, Texas; The Four Seasons Hotel in Chicago, Illinois; and Walt Disney Resorts in
Orlando, Florida.

10. Overby’s bank-expensed personal entertainment included at least three safaris and
treks in Tanzania, theater tickets and tickets to entertainment venues in Wisconsin, North
Carolina, and New York City, among others.

11. To execute the scheme, Overby charged the majority of his personal travel,
entertainment, and dining-related expenses to his bank-issued American Express business
account, knowing that the expenses were not bank-related business expenses.

12.  Inorder to further execute his fraud scheme, Overby directed other FNB
employees to pay the American Express statements containing his personal travel, entertainment,
and dining charges in their entirety, using funds drawn from the FNB general ledger, and further
directed bank employees to book these expenditures to the bank’s non-deductible bank operating
account.

13. Onat least one occasion, Overby booked personal travel and entertainment to his
personal American Express card, and directed bank employees to pay the statements for those
expenses, also using FNB funds, and he directed them to book the expenditures to the bank’s
non-deductible operating account.

14. | Overby sought to disguise the true nature of some of his large personal
expenditures by directing that the expenses be accrued on the bank’s books over a period of time,

thus insuring that the expenses would not appear in the bank’s profit and loss column in the

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month they were incurred, and knowing that this treatment would cause accrual accounts to show
a negative balance.

15. By directing payments to be booked in this manner, Overby caused other FNB
employees to make false and fraudulent entries in FNB’s books and records.

16. In furtherance of the scheme and to conceal its true nature, Overby caused his
personal bank paid expenses to be summarized, along with other legitimate bank expenses, in a
third quarter miscellaneous expense letter to the board without disclosing that he was the actual
recipient of the majority of those expenses. The letter accurately stated that some of the reported
expenses had no direct bank purpose, but falsely implied that the expenses were for the benefit of
all employees and urged that the expenses be approved because they were necessary to
encourage employee productivity.

17. | When questioned about bank-paid personal expenses, Overby falsely stated that
the expenses were part of the bank’s fringe benefit policy and falsely represented that the
expenses were reported to the board every year, when in fact the bank had no formal fringe
benefit expense policy and the board received no information about the true nature of the
expenses or who received them.

18. In furtherance of the scheme, and to conceal its true nature, Overby caused a letter
that he had drafted to be presented to the board in the name of the bank’s internal auditor. The
letter falsely stated, among other misleading assertions, that the internal auditor had researched
the area of bank-funded personal expenses and found there to be nothing nefarious about them.

19. In furtherance of the scheme, and to conceal its true nature, Overby falsely
represented that his receipt of bank funds for the payment of personal expenses was part of his

total compensation package, when in fact, the executive compensation committee, on which he

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sat, never discussed or considered the cost of these personal expenses when determining the

amount of his yearly salary and bonus.

20.

As aresult of this scheme, Overby caused the bank to pay approximately $1.2

million to fund non-bank related personal travel, entertainment, and meals, from a date in 2010

to a date in 2013.

21.

Executions of the Scheme

On or about the dates set forth below, in the State and Eastern District of

Wisconsin, for the purpose of executing the above described scheme to defraud FNB and the

shareholders of WBC, and to obtain money and funds under the custody and control of FNB by

means of material false and fraudulent pretenses, representations and promises, and the omission

of material facts, Archie Overby caused FNB bank personnel to pay, using FNB funds, the

expenses generated by the below-described personal travel:

 

 

 

 

 

 

 

 

 

 

 

Count | Approx. Approx. Description of travel Date of FNB payment
dates of cost of travel and FNB check #
travel

One 1/29/10- $26,884.41 Airline travel, lodging and 1/29/10-ck. # 234705
2/13/10 services at Canyon Ranch Spa, | 2/24/10-ck. # 235007

Tucson, Arizona for Archie &
Margaret Overby.

Two 11/10/10- | $19,091.52 Airline travel and lodging at 10/28/10-ck. # 238736

11/14/10 Disney’s Grand Floridian Resort | 11/29/10-ck. #239185
and Spa for Archie & Margaret
Overby.

Three | 1/29/11- $24,788.05 Airline travel, lodging and 2/28/11-ck. # 240699

2/9/11 services at Canyon Ranch Spa,
Tucson, Arizona for Archie &
Margaret Overby.
Four | 4/1/11- $34,524.23 Airline travel, lodging and 5/2/11-ck. #241508
4/14/11 theater tickets in Chicago and
New York, for Archie &
Margaret Overby.
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Five 10/14/11- | $32,313.00 Airline travel and “Tailor Made | 10/28/11-ck.# 244008
10/23/11 Tanzania Machame Route”
Journey, Arusha Tanzania,
booked through Abercrombie &
Kent for Archie & Margaret
Overby.
Six 2/26/12- $128,899.52 Airline travel, insurance and 2/20/12-ck. # 245667
3/9/12 safari to Mt. Kilimanjaro, 3/1/12-ck. # 245713
through Aardvark Safaris, for
Archie Overby & friends
Seven | 4/6/12- $40,717.94 Airline travel and lodging at 10/28/11-ck. # 244008
4/14/12 Villas of Distinction, St. 11/29/11-ck.#244444
Maarten, through World 3/1/12-ck. # 245713
Holdings Luxury Travel, for 5/1/12-ck. # 246946
Archie & Margaret Overby &
family.
Eight | 7/1/12- $21,112.84 Airline travel, lodging, meals 7/2/12-ck. # 247546
T/ALI/12 and shopping, New York for 7/30/12-ck. # 247928
Archie & Margaret Overby &
friends
Nine 10/17/12- | $236,303.40 Airline travel, insurance and 11/1/12-ck. #249065
10/26/12 African safari through Aardvark | 10/1/12-ck. # 248625
for Archie Overby, family &
friends
Ten 11/6/12- $105,554.57 Airline travel, lodging, meals, 10/1/12-ck. # 248625
11/29/12 and entertainment in New York | 11/1/12-ck. #249065
City for Archie Overby, family | 1/2/13-ck. # 249917
& friends 12/3/12-ck.# 249507
Eleven | 3/19/13- $60,659.39 Airline, lodging and meals, Ritz | 3/28/13-ck. #250941
3/28/13 Carlton-Grand Cayman Island, | 4/23/13-General ledger
for Archie Overby & family transfer
5/1/13-ck. # 251290
Twelve | 3/28/13- $35,361.51 Airline, lodging and shopping, 4/19/13-ck. # 251204
4/6/13 New York, for Archie Overby & | 5/1/13-ck. #251290
family 3/28/13-ck.# 250941

 

All in violation of Title 18, United States Code, Section 1344.

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COUNT THIRTEEN
THE GRAND JURY FURTHER CHARGES THAT
Misapplication of Funds by a Bank Officer

22. On or about July 30, 2013, in the State and Eastern District of Wisconsin and

elsewhere,
ARCHIE G. OVERBY,

being an officer of FNB, a banking institution the deposits of which were insured by the Federal
Deposit Insurance Corporation, did willfully misapply monies and funds of said bank,
specifically, he caused FNB to provide him with approximately $320,930, for the payment of his
personal income taxes.

All in violation of Title 18, United States Code, Section 656.

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Forfeiture Notice

23. | Uponconviction of one or more of the offenses in violation of Title 18, United
States Code, Section 1344, set forth in Counts One through Twelve of this Indictment, or the
offense in violation of Title 18, United States Code, Section 656, set forth in Count Thirteen of
this Indictment, the defendant shall! forfeit to the United States of America, pursuant to Title 18,
United States Code, Section 982(a)(2)(A), any property constituting, or derived from, proceeds
obtained, directly or indirectly, as a result of any such violation or violations. The property to be
forfeited includes, but is not limited to, a sum of money equal to the proceeds derived from the
offense or offenses of conviction.

24. —‘ If any of the property described above, as a result of any act or omission by a
defendant: cannot be located upon the exercise of due diligence; has been transferred or sold to,
or deposited with, a third person; has been placed beyond the jurisdiction of the Court; has been
substantially diminished in value; or has been commingled with other property which cannot be
subdivided without difficulty, the United States of America shall be entitled to forfeiture of
substitute property, pursuant to Title 21, United States Code, Section 853(p), as incorporated by
Title 18, United States Code, Section 982(b)(1).

A TRUE BILL:

   

Dated: S Ws.

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¢——" MATTHEW D. APEGER
United States AttQey

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